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9         IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                              CALIFORNIA

11
                                                        Case Number: 2:10-CR-00042 MCE
12   THE UNITED STAES OF AMERICA
                                                        STIPULATION AND ORDER
13   V.                                                 CONTINUING
                                                        CHANGE OF PLEA HEARING
14
                                                        DATE: August 23, 2012
15   JAMES LEROY JOHNSON                                TIME: 9:a.m.
                                                        DEPT: Hon. Morrison England, Jr.
16

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18
            The parties, through undersigned counsel, stipulate that the change of plea hearing,
19
     currently set for August 23, 2012 be continued to September 6, 2012 at 9 a.m. Defense counsel
20
     needs additional time to meet with Defendant regarding the plea agreement, the plea process and
21
     other collateral issues that materially affect Defendant's plea in this matter.
22
            Therefore the parties agree that the interests of justice served by this continuance
23
     outweigh the public's and the Defendant's interests in a speedy trial and that time may be
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1    excluded from the speedy trial calculation under the Speedy Trial Act for counsel preparation

2    pursuant to 18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4.

3
     DATED: August 21, 2012                                OLAF W. HEDBERG
4
                                                           /s/ Olaf W. Hedberg,
                                                           Olaf Hedberg
5
                                                           Counsel for JAMES LEROY JOHNSON
6

7
     DATED: August 21, 2012                                BENJAMIN WAGNER
                                                           United States Attorney
8
                                                           by /s/ Olaf W. Hedberg, for
9                                                          Jason Hitt
                                                           Assistant U.S. Attorney
10
                                                  ORDER
11

12          Pursuant to the foregoing stipulation of conusel, the status conference, scheduled for
13   August 23, 2012 , is continued to September 6, 2012, at 9:00 a.m. Time is excluded from the
     speedy trial calculation pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel
14
     preparation. The Court finds that the ends of justice served by granting this continuance
15
     outweigh the best interests of defendant and the public to a speedy trial.
16          IT IS SO ORDERED.
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18
            DATED: August 27, 2012

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                                              _______________________________________
20
                                              MORRISON C. ENGLAND, JR.
                                              UNITED STATES DISTRICT JUDGE
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